Case 6:99-cr-70054-NKM        Document 496 Filed 06/13/11           Page 1 of 1          Pageid#:
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                     IN THE UNITED STATESDISTRICT COURT                                 JO)'
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                    FOR TH E W ESTERN DISTRICT OF VIRGINIA
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U NITED STA TES O F A M E RIC A                   Case N o.6:99-:r-70054-6

                                                  j2255ORDER
C LA UDIO O TER O ,JR .,                          By:H on.N orm an K .M oon
      Petitioner.                                 U nited States D istrictJudge

       Forthereasonsstated in theaccompanying memorandum opinion,itishereby

                                        O R D ER ED

thatOtero'smotion(no.493)isCONSTRUED asamotiontovacate,setasideorcorrect
sentence,pursuantto28U.S.C.j2255;theClerkshallOPEN anew actionforthisj2255
motion;thisnew j2255action isDISM ISSED withoutprejudiceasasuccessivej2255
motion;andthecaseisSTRICKEN from theactive docketofthe court.

       Furtherfinding thatOtero hasfailed to makea substantialshowing ofthe denialofa

constitutionalrightasrequiredby 28U.S.C.j2253(c)(1),aCertificateofAppealabilityis
D ENIED .

       The Clerk isdirected to send copiesofthis orderand the accom panying m em orandum

opinion to petitionerand to counselofrecord forthe United States.

      ENTER:Thisl' dayofJune,2011.


                                                  NO       K.M OO
                                                  UN ITED STATES DISTRICT JUDG E
